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                            EXHIBIT H
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AMERICAN PENSION SERVICES, INC. AND AMERICAN PENSION 401K SERVICES, INC.
Business Operating Cash Receipts and Disbursements
For the Period April 24, 2014 through March 31, 2018



Beginning Cash Balance                                           $    129,251.80

  Cash Receipts
    Business Revenue                                                 3,614,392.27
    Transfer of Funds from Trust Account                               365,000.00
    Transfers from Related Companies                                    57,742.13
    Sale of Property                                                   367,897.30
    Insurance Proceeds                                                 405,000.00
    Transition Services Fee                                          1,050,000.00
    Legal Settlements                                                  200,377.45

  Total Cash Receipts                                                6,060,409.15

  Cash Disbursements
    Appraisal Fees                                                      7,365.00
    Auto Expense - Employee                                             1,817.63
    Bank Charges                                                       65,515.15
    Building Rent                                                      67,793.46
    Comcast Internet Services                                           2,661.11
    Computer Software                                                   5,740.26
    Computer Support Services                                          30,095.48
    Contract Labor                                                     87,902.25
    Copier Expense                                                      3,383.76
    Credit Card Processing                                              5,822.51
    Document Disposal                                                   2,598.64
    Employee 401(k) Program                                            45,881.80
    Employee Comp.-401K Services                                      104,678.20
    Employee Compensation & Taxes                                     360,040.43
    Equipment Leases                                                   25,315.20
    General Telephone                                                  32,004.49
    Guard Services                                                     42,437.50
    Health Insurance                                                   33,251.08
    Insurance Expense                                                   6,921.75
    Interest Expense                                                    3,179.33
    Internet Research Fee                                                 451.00
    Legal Noticing                                                    143,535.09
    Licenses & Permits                                                    667.90
    Litigation Resolution                                               1,673.33
    Meals & Entertainment                                               5,487.86
    Mediation Services                                                  7,687.50
    Miscellaneous Operating Expense                                     5,743.17
    Office supplies                                                    14,117.23
    Outside Contracting Services                                       23,043.10
    Postage                                                            25,874.25
    Printing Expenses                                                  10,264.27


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AMERICAN PENSION SERVICES, INC. AND AMERICAN PENSION 401K SERVICES, INC.
Business Operating Cash Receipts and Disbursements
For the Period April 24, 2014 through March 31, 2018



      Professional Services                                                             1,245.00
      Repairs & Maintenance                                                            11,961.33
      Storage                                                                          20,767.75
      Taxes - Other                                                                     3,556.13
      Taxes - Payroll                                                                   3,400.00
      Travel Expense - Reimbursement                                                      552.97
      Utilities                                                                            86.01
      Web Site Fees                                                                    24,325.84
   Total Expenses                                                                    1,238,844.76


   Extraordinary Expenses:
      Receivership Fees and Expenses - Note 2                                        4,505,978.57
   Total Extraordinary Expenses                                                      4,505,978.57

   Total Cash Disbursements                                                          5,744,823.33

Ending Cash Balance                                                              $    444,837.62

NOTES:
Note 1 - The above amounts are cash receipts and disbursements related to the business
  operations of American Pension Services, Inc. and American Pension 401k Services, Inc.

Note 2 - Amount includes payment to Durham Jones & Pinegar in the amount of $157,559 for
  Curtis DeYoung's legal fees as ordered by the Court.




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